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                                3                       UNITED STATES DISTRICT COURT
                                                       CENTRAL DISTRICT OF CALIFORNIA
                                4
                                    KHALID ZUBAIR,                            Case No.: 2:16-CV-005644-TJH-PLA
                                5
                                                                              ORDER GRANTING
                                6
                                                  Plaintiff,                  JOINT STIPULATION TO DISMISS
                                7                                             ACTION WITH PREJUDICE
                                                      v.
                                8                                             [JS-6]
                                    ZEE LAW GROUP, PC; AND
                                9   COLLECT ACCESS, LLC,
                               10

                               11                 Defendants.
                               12
KAZEROUNI LAW GROUP, APC
 245 FISCHER AVENUE, UNIT D1
    COSTA MESA, CA 92626




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                               16         Having reviewed the stipulation by the parties to dismiss this action with
                               17   prejudice, with each party to bear its own respective attorneys’ fees and costs, and
                               18   good cause appearing therefor, IT IS HEREBY ORDERED that this action is
                               19   dismissed in its entirety WITH PREJUDICE with each party to bear its own
                               20   attorneys’ fees and costs.
                               21

                               22         IT IS SO ORDERED.
                               23

                               24   Dated: April 30, 2018
                                                                                 HON. TERRY J. HATTER, JR.
                               25
                                                                                 U.S. DISTRICT COURT JUDGE
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                                    ORDER GRANTING STIPULATION TO DISMISS ACTION WITH PREJUDICE
